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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                        1/11/2021
JORGE DANIEL GOMEZ,
               Plaintiff,
                                                    20-CV-5585 (AT) (BCM)
       -against-
                                                    ORDER
HENRY STREET SETTLEMENT, et al.,
               Defendants.

BARBARA MOSES, United States Magistrate Judge.

       On December 14, 2020, defendants filed a motion (Dkt. No. 15) to dismiss plaintiff's

employment discrimination claims, filed pro se. Although plaintiff's response was due on

December 28, 2020, see S.D.N.Y. Local Rule 6.1(b), plaintiff failed to respond or seek an

extension of his deadline to do so.

       In light of plaintiff's pro se status, and because this case has been referred to the Court's

Mediation Program (Dkt. No. 6), the Court sua sponte (1) extends the deadline for plaintiff to

respond to the pending motion to dismiss until after the Court-annexed mediation occurs, and (2)

adjourns the initial case management conference, currently scheduled for February 1, 2021, at

10:00 a.m., sine die.

       Defendants are directed to submit a status update letter no later than one week after the

mediation occurs.

Dated: New York, New York
       January 11, 2021

                                             SO ORDERED.



                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge
